Case 0:99-cr-06268-WPD Document 1 Entered on FLSD Docket 12/02/1999 Page 1 of 4

UNITED STATES DISTRICT COURT
Oran DISTRICT OF FLORIDA

99 - 065.6 SCR-DIMITROULEAS.

 

 

18 USC 659 cB.
18 USC 2 MAGISTRATE SUE -
SNOW “
UNITED STATES OF AMERICA,
Plaintiff,
Vv.
JERRY CORGNATI,
Defendant. oC
/
INDICTMENT An

The Grand Jury charges that:

On or about December 2, 1994, at Fort Lauderdale, Broward County, in the Southern District
of Florida, and elsewhere, the defendant,

JERRY CORGNATI,

knowingly, did have tn his possession goods and chattels of a value in excess of $1,000.00, that is,
Motorola MTS-2000 portable radios, which had been stolen from the storage facility at the shipping
department of the Motorola plant in Plantation, Florida and which were moving as, and which
constituted, an interstate shipment of property from Plantation, Florida, to Durham, North Carolina,

knowing the said goods and chattels to have been stolen.
Case 0:99-cr-06268-WPD Document 1 Entered on FLSD Docket 12/02/1999 Page 2 of 4

In violation of Title 18, United States Code, Sections 659 and 2.

 

A TRUE BILL
. Beg a a x Lif,
FOREPERSON Of

S COTT
DS S ATTORNEY

~ RICHARD D. BOSCOVICH
ASSISTANT UNITED STATES ATTORNEY
Case 0:99-cr-06268-WPD Document1 Entered on FLSD Docket 12/02/1999 Page 3 of 4
UNITED STATES DISTRICT COURT

UNITED STATES 0.9.2.05 VBBCR vin! mele LEAS

CERTIFICATE OF TRIAL ATTORNEY’

 

JERRY CORGNAT! MAGISTRATE JUDGB
Superseding Case Information: SNOW
Court Division: (Select One) New Defendant(s) Yes No —xX
Number of New Defendants __
Miami Key West Total number of counts —__—.
_X FTL __ WPB__ FTP

| do hereby certify that:

i i have carefully considered the allegations of the indictment, the number of defendants,
the number of probable witnesses and the legal complexities of the Indictment/Information
attached hereto.

2 | am aware that the information supplied on this statement will be relied upon by the
Judges of this Court in setting their calendars and scheduling criminal trials under the
mandate of the Speedy Trial Act, Title 28 U.S.C. Section 3161.

interpreter: (Yes or No) ____NQ
List lanquage and/or dialect

Ww

 

4. This case willtake 45 ~—_ days for the parties to try.

5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one) oO
| 0 to 5days —_xX_ Petty ——
{I 6 to 10 days —__ Minor —__
III 11 to 20 days —__ Misdem. —_
IV 21 to 60 days ——__ Felony —_xX_

V 61 days and over

 

6. Has this case been previously filed in this District Court? (Yes or No) —No-
if yes:

Judge’ Case No.
(Attach copy of dispositive order)

Has a complaint been filed in this matter? (Yes or No) _-Na
lf yes:

Magistrate Case No.
Related Miscellaneous numbers:
Defendant(s) in federal custody as of
Defendant(s) in state custody as of

 

 

 

 

 

 

 

Rule 20 from the ___:C~—=‘COS Strict OF
ls this a potential death penalty case? (Yes or No) No
7. Does this case originate from a matter pending in the U. S. Attorney's Office prior to

April1,1999? X Yes __ No _ If yes, was it pend) alRegion? _Yes_x_ No

mn | fo =! >
aE a ye te
RICHARD D. BOSCOVICH
ASSISTANT UNITED STATES ATTORNEY
Florida Bar No. 0829013
*Penalty Sheet(s) attached REV.4/7/99

  
Case 0:99-cr-06268-WPD Document 1 Entered on FLSD Docket 12/02/1999 Page 4 of 4
UNITED STATES DISTRICT COURT

9 GC tind Baten DIMITROULEAS

 

 

Defendant's Name’ JERRY CORGNATI No: MAGISTRATE JUDGE
z, . “SNOW
Count #: 1 ee

 

Title 18 USC 659; Possession of goods stolen from interstate shipment.

 

 

*Max. Penalty: 10 years’ imprisonment: $250,000 fine.

 

Count #

 

 

*Max. Penalty:

 

Count

 

*Max. Penalty:

Count #:

 

 

*Max. Penalty:

Count #:

 

 

*Max. Penalty:

 

*Max. Penalty:
Count #:

 

 

*Max. Penalty:

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
